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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

UNITED STATES OF AMERICA                                     §
                                                             §
v.                                                           §     CRIMINAL NO. H-09-0424
                                                             §
HOWARD GRANT                                                 §
CLINTON LEE                                                  §
OBISIKE NWANKWO                                              §

                                               MEMORANDUM AND ORDER

            This criminal prosecution is before the Court on the Motions for Judgment of

Acquittal filed by Defendants Howard Grant [Doc. # 620], Clinton Lee [Doc. # 621],

and Obisike Nwankwo [Doc. # 622].1 The United States filed a Response to Grant’s

Motion [Doc. # 643] and a Consolidated Response to Lee’s Motion and Nwankwo’s

Motion [Doc. # 644]. None of the Defendants filed a Reply. Having presided over

the trial, having reviewed the parties’ submissions and all other relevant matters of

record, and having applied governing legal authorities, the Court denies all three

Motions.

I.          FACTUAL BACKGROUND

            The moving Defendants were charged by Indictment with conspiracy to engage

in Medicare fraud, and Grant was charged in two related substantive counts of health

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            Grant included an alternative request for a new trial pursuant to Rule 33 of the Federal
            Rules of Criminal Procedure.
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care fraud.2 The conspiracy involved Onward Group Healthcare, Inc. (“Onward”), a

provider of power wheelchairs and other durable medical equipment (“DME”) to

Medicare beneficiaries. Defendant Doris Vinitski was Onward’s owner and operator.

As part of the conspiracy, Defendant John Nasky Okonkwo, who pled guilty prior to

trial, billed Medicare on Onward’s behalf. Okonkwo testified at trial that he later

provided Vinitski with fraudulent prescriptions to support the previously submitted

billings. It was uncontested at trial that Vinitski, who entered a plea of guilty prior to

trial, used Onward to engage in Medicare fraud and that Okonkwo knowingly

participated in that fraud.

            Defendant Grant was charged with participating in the conspiracy by ratifying

the use of prescriptions bearing his name that were provided to Onward without his

knowledge, and by knowingly allowing subsequent prescriptions bearing his name,

to be used to obtain medically unnecessary DME for which Onward billed Medicare.

Defendants Lee and Nwankwo were charged with participating in the conspiracy by

knowingly delivering medically unnecessary DME for which Onward billed




2
            Grant was charged with one count of Medicare fraud involving delivery of a
            $6,000.00 motorized wheelchair and with one count of Medicare fraud involving
            delivery of a $500.00 knee orthosis, both to a Medicare patient who clearly did not
            need the equipment.

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Medicare. Defendants Grant, Lee, and Nwankwo denied any knowing participation

in the conspiracy.

            Following a ten-day trial, the jury returned a verdict on June 2, 2010, finding

all three moving Defendants guilty on the conspiracy charge and finding Grant guilty

on the two substantive counts. On June 15, 2010, Grant filed his Motion for Judgment

of Acquittal, and Lee and Nwankwo filed their Motions on June 16, 2010. Briefing

has concluded, and the Motions are ripe for decision.

II.         STANDARD OF REVIEW

            A defendant against whom a guilty verdict is returned may move for a judgment

of acquittal. FED. R. CRIM. P. 29(c). “A motion for judgment of acquittal challenges

the sufficiency of the evidence to convict.” United States v. Lucio, 428 F.3d 519, 522

(5th Cir. 2005) (quoting United States v. Medina, 161 F.3d 867, 872 (5th Cir. 1998)).

In reviewing the sufficiency of the evidence, a jury’s verdict should be upheld “if any

rational trier of fact could have found that the evidence established the essential

elements of the offense beyond a reasonable doubt.” United States v. Charles, 469

F.3d 402, 406 (5th Cir. 2006) (citing Jackson v. Virginia, 443 U.S. 307, 318–19

(1979)); United States v. Ragsdale, 426 F.3d 765, 770–71 (5th Cir. 2005) (citing

United States v. Floyd, 343 F.3d 363, 370 (5th Cir. 2003)).




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            In conducting this inquiry, the Court is to examine the evidence as a whole and

draw all reasonable inferences to support the verdict. Charles, 469 F.3d at 406 (citing

United States v. Delgado, 256 F.3d 264, 273–74 (5th Cir. 2001)); Ragsdale, 426 F.3d

at 771 (citing Floyd, 343 F.3d at 370). The reviewing court must “accept the jury’s

credibility determinations unless a witness’s testimony is incredible or patently

unbelievable.” United States v. Williams, 520 F.3d 414, 420 (5th Cir. 2008) (quoting

United States v. Lopez, 74 F.3d 575, 578 (5th Cir. 1996)). A jury is free to choose

among various constructions of the evidence, provided such constructions are rational.

United States v. Ramos-Cardenas, 524 F.3d 600, 605 (5th Cir. 2008) (citing United

States v. Frye, 489 F.3d 201, 207 (5th Cir. 2007)). The jury “retains the sole authority

to weigh any conflicting evidence and to evaluate the credibility of the witnesses.”

United States v. Loe, 262 F.3d 427, 434 (5th Cir. 2001). “The evidence need not

exclude every reasonable hypothesis of innocence or be wholly inconsistent with

every conclusion except that of guilt,” in order to be sufficient. United States v.

Moreno, 185 F.3d 465, 471 (5th Cir. 1999).

III.        ANALYSIS

            A.          Grant’s Motion

            Grant does not challenge the existence of the conspiracy involving Onward’s

submission of fraudulent claims to Medicare or his knowledge of that conspiracy. See


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Grant’s Motion, p. 17. Grant argues, however, that there is no evidence that he “ever

received any money in the scheme.” Id. Grant argues that the Government’s evidence

does not establish that he “had the deliberate, knowing, and specific intent to join the

conspiracy.”3 Id. In support of his argument, Grant relies heavily on his own

testimony and construes the Government’s evidence in the light most favorable to his

defense.

            The Government is not required to prove a conspiracy through direct evidence.

United States v. Stephens, 571 F.3d 401, 404 (5th Cir. 2009).                     Although an

individual’s association with criminal conspirators is insufficient to support a

conspiracy conviction against that individual, circumstantial evidence is enough to

prove an agreement, and minor participation may support conviction.” See id. (citing

United States v. Bieganowski, 313 F.3d 264, 276 (5th Cir. 2002)). “An agreement

may be inferred from concert of action, voluntary participation may be inferred from

a collection of circumstances, and knowledge may be inferred from surrounding

circumstances.” Id. (internal quotation marks and citations omitted).




3
            Grant does not argue in any meaningful way a basis for a judgment of acquittal on the
            substantive counts independent of his arguments regarding the conspiracy counts. In
            any event, under Pinkerton v. United States, 328 U.S. 640 (1946), a party to a
            conspiracy may be held responsible for a substantive offense committed by a co-
            conspirator in furtherance of the conspiracy.

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            The United States presented evidence that Defendant John Nasky Okonkwo

provided Vinitski with fraudulent prescriptions for DME, once in early to mid-

October (the “first batch”) and again several weeks later (the “second batch”). All the

prescriptions bore Grant’s forged signature. Grant was advised of the first batch of

forged prescriptions and visited Onward’s office in mid-October. Vinitski showed

Grant the forged prescriptions that she had received in the “first batch.”

            The United States presented testimony from Javonica Moten, an Onward

employee, that Vinitski wanted Grant to make the prescriptions in the first batch

“right” by seeing the patients and retroactively preparing the paperwork for the DME.

Moten testified that Vinitski informed her that Grant “was asking for money to make

those patients right.” Grant testified at trial, however, that he knew the forged

prescriptions could not be “made right.” Moten further testified that Okonkwo told

Vinitski that Grant “had already been paid for those patients, he already knew about

it.” Moten testified also that, to execute the payment scheme, Vinitski asked her if she

knew anyone that Grant trusted through whom Vinitski could pay Grant indirectly.

            The United States also presented the testimony of Defendant Okonkwo, who

testified that Grant demanded payment from Vinitski for the fraudulent prescriptions.

Okonkwo described one conversation during which Vinitski stated she was not going

to pay Okonkwo because Grant was demanding $10,000.00 from Vinitski to redo the


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paperwork and “to avoid any potential problem” with Medicare. Okonkwo testified

that Vinitski was going to pay Grant through a third party. Okonkwo also testified

that he believed that Grant had been paid for the prescriptions by Joseph Edem, who

told Okonkwo that he paid the doctors at Grant’s medical facility $100 per DME

prescription and, therefore, that Okonkwo would need to pay $500 for each

prescription. The United States presented evidence of an extensive pattern of cash

deposits into Grant’s bank accounts between May 2009 – just after the conspiracy

period ended in March 2009 – and March 2010.

            The United States also presented telephone records reflecting numerous

telephone calls between Grant and Vinitski. The telephone conversations between the

two increased in frequency after Grant visited Onward in mid-October. There were

also a significant number of telephone calls and text messages between Grant and

Edem into January 2009.

            The Government’s evidence, if believed by the jury, and the reasonable

inferences that could be drawn therefrom, support the jury’s verdict. The jury could

have found from the Government’s evidence that Grant became aware of the forged

prescriptions in mid-October 2008 and, for cash paid through a third party, knowingly

and willfully ratified their submission to Medicare by Onward. This evidence also

supports the jury’s finding that Grant knowingly and willfully agreed for Onward to


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use prescriptions bearing his forged signature that Okonkwo provided to Onward in

the “second batch.”4 From this and other evidence in the record, the jury could

reasonably have found that Grant knowingly entered into the conspiracy, ratified its

goals, and intentionally enabled it to use prescriptions known by all parties to be false

and fraudulent.

            The jury was also entitled to consider Grant’s own testimony when deliberating

and reaching its verdict. Grant testified twice during the trial and the jury was entitled

to consider his credibility and to find it lacking. Grant repeatedly changed his

testimony regarding various matters, including his relationship with Edem. He was

unable to provide a clear, rational explanation for the numerous telephone and text

communications with members of the conspiracy.5

            Grant claimed he was duped by the conspirators and did not know his name was

used and signature forged on the prescriptions before they were submitted to

Medicare. He testified that, after he learned of the scheme, he did not join it and,



4
            Moten testified that she prepared lists of the prescriptions Okonkwo gave to Vinitski.
            The list of prescriptions in the first batch was given to Lee to give to Grant. This list
            was introduced as Government’s Exhibit 173Z. Moten gave the list of prescriptions
            in the second batch to Vinitski. That list was in Grant’s possession and was provided
            by Grant’s attorney to the Government as Grant’s Exhibit 1.
5
            Grant admitted he had made sizeable cash deposits into his bank accounts as shown
            by the Government, and this same practice had occurred during the period of the
            conspiracy.

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instead, contacted five different lawyers regarding the prospect of a qui tam lawsuit

against Onward for submitting the false Medicare claims. It was Grant’s position that

he would not have communicated with lawyers to file a lawsuit to expose the scheme

if he had been a participant in it. On cross-examination, however, Grant admitted that

he did not want to file a qui tam lawsuit unless he could profit from it and unless he

could file it without any expense to himself. It was also revealed during cross-

examination that Grant had not fully and honestly informed the lawyers about the

Onward fraud, his extensive communications with the participants during the

conspiracy period, or his own actions. For example, Grant wrote in a letter to a lawyer

that he had met Edem only once, about one week before his first visit to Onward.

Grant’s testimony during trial, however, described at least four meetings with Edem,

beginning in 2007. The jury could reasonably determine that the qui tam lawsuit was

merely another means through which Grant sought to benefit financially from his

participation in the Medicare fraud conspiracy.6 There is no evidence that he

understood at the time that information provided through a qui tam lawsuit would be

provided to law enforcement.




6
            It is undisputed that Grant never filed a qui tam lawsuit. It is also undisputed that
            Grant never reported the Onward fraud to any person or agency connected with the
            Medicare program or to any law enforcement agency.

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            The United States presented testimony from Moten and Okonkwo that Grant

was involved in the conspiracy and demanded payment for other participation. The

United States presented telephone and bank records that supported that testimony.

The Government’s evidence, which the jury was entitled to credit, presented a picture

of Grant as a man who willfully and knowingly joined in the conspiracy for monetary

gain and who engaged in (or aided in the commission of) the substantive counts of

Medicare fraud. The Court denies Grant’s Motion for Judgment of Acquittal.

            Motion for New Trial – Alternatively, Grant seeks a new trial pursuant to Rule

33 of the Federal Rules of Criminal Procedure because (1) the verdict is against the

weight of the evidence, (2) the Court’s failure to instruct the jury on an “omissions”

theory was plain error, and (3) it is in the interest of justice. With reference to the jury

instruction issue, Grant does not elaborate in any way on this argument. Grant did not

request an “omissions” instruction, did not object to the instructions as given, and has

not shown that such an instruction would have been appropriate. The United States

did not premise its theory that Grant knowingly participated in the conspiracy entirely

on an omission or failure to act. Moreover, the instructions given to the jury

emphasized twice that mere presence is not sufficient to satisfy the elements of the

crimes charged in the Indictment. There was no error in the jury instructions.




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            With reference to the weight of the evidence and the interests of justice for

purposes of a Rule 33 motion for new trial, the Court may “weigh the evidence and

may assess the credibility of the witnesses during its consideration of the motion for

new trial.” United States v. Tarango, 396 F.3d 666, 672 (5th Cir. 2005) (quoting

United States v. Robertson, 110 F.3d 1113, 1117 (5th Cir. 1997)). The Court may not,

however, entirely usurp the jury’s function or simply set aside a jury’s verdict. Id

(internal quotations and citations omitted). Additionally, setting aside a jury’s guilty

verdict in the interests of justice is appropriate only where the evidence presented at

trial “preponderates sufficiently heavily against the verdict such that a miscarriage of

justice may have occurred.” Id.; see also United States v. Fuchs, 467 F.3d 889, 910

(5th Cir. 2006); United States v. Arnold, 416 F.3d 349, 360 (5th Cir. 2005). The

power to set aside a verdict in the interest of justice “should be exercised infrequently

by district courts, unless warranted by ‘exceptional’ circumstances.” Tarango, 396

F.3d at 672.

            For the reasons discussed above, the Court cannot find that the evidence in this

case weighs against the guilty verdict or that exceptional circumstances require a new

trial in the interests of justice. Grant’s alternative Rule 33 Motion for New Trial is

denied.




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            B.          Lee’s Motion

            The evidence presented at trial, and which could be relied upon by the jury,

indicated that Lee became aware of the fraudulent prescriptions in October 2008 and

continued to do business with Vinitski until he was arrested in July 2009. Indeed, it

was undisputed that he enrolled in a training class – paid for by Vinitski – to learn to

install and repair medical equipment. There was testimony that he enrolled in this

training class in order to make deliveries for Vinitski. There was also testimony that

Lee suggested an indirect method for Vinitski to make payments to Grant and offered

to serve as the third party through whom the indirect payments would be made.

Telephone records also established a high number of unexplained telephone calls

between Lee and Vinitski during the term of the conspiracy. This evidence and

reasonable inferences that the jury could draw from this evidence support the jury’s

verdict of guilty beyond a reasonable doubt. Consequently, the Court denies Lee’s

Motion.

            C.          Nwankwo’s Motion

            There was credible testimony at trial, which could be relied upon by the jury in

reaching its verdict, that Nwankwo attempted delivery for at least nine of the forged

prescriptions provided by Okonkwo. There was credible testimony that Nwankwo

repeatedly attempted deliveries for Vinitski which he was unable to complete because


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the recipient refused delivery, because the recipient did not live at the address

provided, or for a similar reason. Indeed, one witness testified that she refused

delivery of a power wheelchair but that the delivery driver, Nwankwo, was insistent

that she accept it and she eventually told him that she would call the police if he did

not leave. There was testimony from Moten that Vinitski particularly liked for

Nwankwo to make deliveries because he knew “how to make the people take the

equipment even if they [didn’t] want it.” Onward paid Nwankwo almost $3,000.00

from December 2008 to May 2009 for making deliveries. This evidence, and the

reasonable inferences to be drawn therefrom, supports the jury’s verdict finding

Nwankwo guilty beyond a reasonable doubt. The Court denies Nwankwo’s Motion.

IV.         CONCLUSION

            The Government presented sufficient evidence at trial that, if accepted by the

jury as true, supports the guilty verdicts against Grant, Lee, and Nwankwo in this case.

As a result, none of the Defendants is entitled to a judgment of acquittal, and Grant

is not entitled to a new trial. Therefore, it is hereby

            ORDERED that Defendant Howard Grant’s Motion for Judgment of Acquittal

or for New Trial [Doc. # 620], Defendant Clinton Lee’s Motion for Judgment of

Acquittal [Doc. # 621], and Defendant Obisike Nwankwo’s Motion for Judgment of

Acquittal [Doc. # 622] are DENIED.


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            SIGNED at Houston, Texas, this 13th day of August, 2010.




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